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          ** UNITED STATES DISTRICT COURT CRIMINAL MINUTES **
Date: 06/25/2021                                        Before the Honorable: T.S. ELLIS, III

Time: 01:30 p.m. – 02:22 p.m. (00:52)                   Case No.: 1:19-cr-00099-TSE-1

Official Court Reporter: Rebecca Stonestreet

Courtroom Deputy: Tanya Randall
________________________________________________________________________________________


UNITED STATES OF AMERICA
v.

CHRISTOPHER WARREN LAPP

    Counsel for Government               Counsel for Defendant
    Maureen Cain                         Joseph Flood
    Morris Parker
                                         Other
                                         Alexander Francuzenko, Counsel for Alexandria Sheriff Dana Lawhorne
                                         George McAndrews, Counsel for City of Alexandria and Dept of
                                         Community & Human Services
                                         Genna Petre, Counsel for Bureau of Prisons in Butner (via phone)

Appearances of Counsel for ( X ) Govt      ( X ) Deft


Re:       SHOW CAUSE HEARING

         Court heard from Dr. Dean Inouye -Alexandria Detention Center


Argued and:

[    ] Granted [   ] Denied          [   ] Granted in part/Denied in part

[    ] Taken Under Advisement        [   ] Continued to

[    ] Report and Recommendation to Follow

[ X ] Order to Follow
